All of the material facts in this case are essentially the same as those in San Joaquin Valley Securities Co. v. Prather,ante, p. 378 [11 P.2d 45], this day decided, except for a difference in names, dates and amounts. The cases were tried together, in conjunction with *Page 772 
three other cases, and this appeal is from a judgment in favor of one of the defendants. While there is a separate appeal in each case, all five cases were submitted upon a single transcript and a single set of briefs.
[1] For the reasons given in San Joaquin Valley SecuritiesCo. v. Prather, supra, the judgment appealed from is affirmed.
Marks, J., and Jennings, J., concurred.
A petition for a rehearing of this cause was denied by the District Court of Appeal on June 6, 1932, and an application by appellant to have the cause heard in the Supreme Court, after judgment in the District Court of Appeal, was denied by the Supreme Court on July 7, 1932.